                 Case 2:18-bk-17029-BB                                Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                                                     Desc
                                                                       Main Document    Page 1 of 24
                                TOTAL DISBURSEMENTS FROM GENERAL DIP ACCOUNT FOR CURRENT PERIOD
                                               OFFICE OF THE UNITED STATES TRUSTEE
                                                 CENTRAL DISTRICT OF CALIFORNIA

In Re:                                                                                                             CHAPTER 11 (BUSINESS)

     DDC GROUP, INC.                                                                                               Case Number:                                         2:18-bk-17029-BB
                                                                                                                   Operating Report Number:                            12
                                                                             Debtor(s).                            For the Month Ending:                               5/31/2019

                                                                    I. CASH RECEIPTS AND DISBURSEMENTS
                                                                           A. GENERAL DIP ACCOUNT

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                                       3,777,684.31

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                                            3,706,935.17
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                                                             70,749.14

4. RECEIPTS DURING CURRENT PERIOD:
   General Sales                                                                                                                                          321,004.29
   Transfers from Other DIP Accounts (from page 2)                                                                                                         12,800.90
   Returned Check                                                                                                                                           7,700.00

     TOTAL RECEIPTS THIS PERIOD:                                                                                                                                               341,505.19

5. BALANCE:                                                                                                                                                                    412,254.33

6. LESS: DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                                                                           72,000.90
   Disbursements (from page 2)                                                                                                                            331,048.70

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                                                       403,049.60

7. ENDING BALANCE:                                                                                                                                                                 9,204.73

8. General DIP Account Number                                                                                      ***7371
                                                                                                                   The Commerce Bank of Washington
     Depository Name & Location:                                                                                   601 Union St Suite 3600
                                                                                                                   Seattle, WA 98101


*    All receipts must be deposited into the general account.
**   Include receits from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold.
     to whom, terms, and date of Court Order or Report of Sale.
*** This amount should be the same as the total from page 2.
         Case 2:18-bk-17029-BB          Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                             Desc
                                         Main
                        TOTAL DISBURSEMENTS   Document
                                            FROM           Page
                                                 GENERAL DIP    2 of 24
                                                             ACCOUNT  FOR CURRENT PERIOD

  Date         Check                                                                       * Amount      ** Amount
mm/dd/yyyy     Number          Payee or DIP Account                  Purpose              Transferred    Disbursed      Amount
 05/01/2019              MARIA BUSTAMANTE             Outside Services - Subcontractors                     1,250.00         1,250.00
 05/01/2019              CARLOS PEREDO                Outside Services - Subcontractors                     1,250.00         1,250.00
 05/01/2019              TRANSFER TO BENTO                 Funding of Bento Card                            4,000.00         4,000.00
 05/01/2019   1683       Wind Star                      Construction Materials Costs                       10,249.27        10,249.27
 05/01/2019              TRANSFER                          Transfer to Payroll DIP           10,000.00                      10,000.00
 05/02/2019   1684       KINGSLEY-MBAEZUE-DANIEL          Employee Payroll Check                              343.15           343.15
 05/02/2019   1536       Coolstone Concrete Design    Outside Services - Subcontractors                     2,050.00         2,050.00
 05/02/2019              Jeff Alkazian                Outside Services - Subcontractors                     1,009.88         1,009.88
 05/02/2019              RMO AGENCY LLC                      Permits & Similar                                895.00           895.00
 05/03/2019              Unchained Financial Services       Accounting Expense                              1,128.54         1,128.54
 05/03/2019              JUAN CARLOS VARGAS           Outside Services - Subcontractors                     2,300.00         2,300.00
 05/03/2019              Francisco Hernandez          Outside Services - Subcontractors                     3,500.00         3,500.00
 05/03/2019   1678       San Diego Concrete Cutting   Outside Services - Subcontractors                     5,500.00         5,500.00
 05/03/2019   1679       San Diego Concrete Cutting   Outside Services - Subcontractors                     4,000.00         4,000.00
 05/06/2019              TRANSFER TO BENTO                 Funding of Bento Card                            3,000.00         3,000.00
 05/06/2019              Michael Bassi                Outside Services - Subcontractors                     4,000.00         4,000.00
 05/06/2019              TRANSFER                          Transfer to Payroll DIP           16,000.00                      16,000.00
 05/06/2019   1687       INVINCIBLE CEO LLC            Professional Development Exp                         3,150.00         3,150.00
 05/07/2019              TRANSFER                          Transfer to Payroll DIP                          3,000.00         3,000.00
 05/08/2019   1683       UNITED STATES TRUSTEE                 Legal Expense                                4,875.00         4,875.00
 05/09/2019              TRANSFER TO BENTO                 Funding of Bento Card                            4,000.00         4,000.00
 05/09/2019              TRANSFER                           Transfer to TAX DIP               8,000.00                       8,000.00
 05/09/2019              TRANSFER                          Transfer to Payroll DIP           10,000.00                      10,000.00
 05/09/2019              STATE COMP INS FUND                 Insurance Expense                                955.25           955.25
 05/10/2019              JUAN CARLOS VARGAS           Outside Services - Subcontractors                     1,000.00         1,000.00
 05/10/2019              WEB PRESENCE LLC                 Advertising & Marketing                           2,000.00         2,000.00
 05/10/2019              Francisco Hernandez          Outside Services - Subcontractors                     2,500.00         2,500.00
 05/10/2019              Wind Star                      Construction Materials Costs                        3,191.19         3,191.19
 05/10/2019              Central Valley Millworks       Construction Materials Costs                       11,526.30        11,526.30
 05/10/2019              HM Group Corp.               Outside Services - Subcontractors                    25,500.00        25,500.00
 05/10/2019              ALL AIR MECHANICAL CONTRAC Outside Services - Subcontractors                      40,000.00        40,000.00
 05/10/2019              MARLIN BUSINESS                       Office Expense                                 116.24           116.24
 05/10/2019   1688       MARTIN STEPHEN DUFFIELD          Reimbursable Expenses                               356.71           356.71
 05/10/2019   1689       NICHOLAS SOSA                    Reimbursable Expenses                               154.00           154.00
 05/10/2019   1690       BOLERO INC                         Sales / Commissions                             2,500.00         2,500.00
 05/13/2019   1539       Keough Electric Co           Outside Services - Subcontractors                    15,480.00        15,480.00
 05/13/2019              BILL MATRIX                       Bank Service Charges                                 5.00             5.00
 05/13/2019              PRIVATEPMNTSVCING                  Dues & Subscriptions                              806.67           806.67
 05/13/2019              Porsche Consumer Bill Pay          Lease Exp - Vehicle                             1,152.50         1,152.50
 05/13/2019              Blue Shield of California           Insurance Expense                              2,019.96         2,019.96
 05/14/2019   1538       DMS Air                      Outside Services - Subcontractors                     9,450.00         9,450.00
 05/14/2019              KAISER PERMANENTE                    Health Insurance                              1,257.54         1,257.54
 05/14/2019              TRANSFER TO BENTO                 Funding of Bento Card                            3,000.00         3,000.00
 05/14/2019              Labor & Industries                 Dues & Subscriptions                               10.00            10.00
 05/14/2019              Labor & Industries                 Dues & Subscriptions                               10.00            10.00
 05/14/2019              COST FINANCIAL INSURANCE            Insurance Expense                                 63.82            63.82
 05/15/2019              ANALYSIS CHARGE                   Bank Service Charges                               531.76           531.76
 05/16/2019              BRIGHTER ELECTRIC            Outside Services - Subcontractors                       950.00           950.00
 05/16/2019              TRANSFER TO BENTO                 Funding of Bento Card                            4,000.00         4,000.00
 05/16/2019              START UP BOLD LLC            Outside Services - Subcontractors                     6,850.72         6,850.72
 05/16/2019              COST FINANCIAL INSURANCE            Insurance Expense                              1,054.26         1,054.26




                                                              Continued on Next Page
                    Case 2:18-bk-17029-BB                             Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                                    Desc
                                                                       Main Document         Page
                                                                                Continued from      3 of
                                                                                               Previous   24
                                                                                                        Page

     05/17/2019         1537        Bk Electric Services                                  Outside Services - Subcontractors                         3,400.00        3,400.00
     05/17/2019                     Francisco Hernandez                                   Outside Services - Subcontractors                         1,500.00        1,500.00
     05/17/2019                     JUAN CARLOS VARGAS                                    Outside Services - Subcontractors                         1,500.00        1,500.00
     05/20/2019                     A1 GLASS                                                Construction Materials Costs                            7,673.27        7,673.27
     05/21/2019                     AT&T                                                         Telephone Expense                                  1,210.07        1,210.07
     05/22/2019                     TRANSFER TO BENTO                                          Funding of Bento Card                                4,000.00        4,000.00
     05/22/2019                     HM Group Corp.                                        Outside Services - Subcontractors                        38,250.00       38,250.00
     05/22/2019                     TRANSFER                                                   Transfer to Payroll DIP             18,000.00                       18,000.00
     05/22/2019                     Nextiva                                                      Telephone Expense                                    481.24          481.24
     05/22/2019                     Cogent Communications, Inc.                                        Utilities                                      575.00          575.00
     05/23/2019         1543        Unchained Financial Services                                  Accounts Payable                                  1,550.00        1,550.00
     05/23/2019                     Jeff Alkazian                                         Outside Services - Subcontractors                         1,009.00        1,009.00
     05/23/2019                     MARIA BUSTAMANTE                                      Outside Services - Subcontractors                         1,250.00        1,250.00
     05/23/2019                     CARLOS PEREDO                                         Outside Services - Subcontractors                         1,250.00        1,250.00
     05/23/2019                     TRANSFER                                                   Transfer to Payroll DIP             10,000.00                       10,000.00
     05/23/2019                     AT&T                                                         Telephone Expense                                    257.52          257.52
     05/23/2019                     Upload Infinity Insurance                                    Insurance Expense                                    607.09          607.09
     05/23/2019         1694        KINGSLEY-MBAEZUE-DANIEL                                   Employee Payroll Check                                  284.59          284.59
     05/24/2019                     JUAN CARLOS VARGAS                                    Outside Services - Subcontractors                           750.00          750.00
     05/24/2019                     Juan Mireles                                          Outside Services - Subcontractors                           750.00          750.00
     05/24/2019                     Abel Perez Calvillo                                   Outside Services - Subcontractors                           750.00          750.00
     05/24/2019                     Francisco Hernandez                                   Outside Services - Subcontractors                         1,000.00        1,000.00
     05/24/2019                     TRANSFER TO BENTO                                          Funding of Bento Card                                4,000.00        4,000.00
     05/24/2019         1695        MARTIN STEPHEN DUFFIELD                                   Reimbursable Expenses                                   710.79          710.79
     05/24/2019                     BILL.COM                                                    Transfer to TAX DIP                     0.71                            0.71
     05/28/2019                     TRANSFER TO BENTO                                          Funding of Bento Card                                4,000.00        4,000.00
     05/28/2019                     MERCURY INSURANCE                                            Insurance Expense                                     19.16           19.16
     05/28/2019         1686        CITY OF SAN JOSE                                             Permits & Similar                                 16,358.00       16,358.00
     05/28/2019         1698        BOLERO INC                                                  Sales / Commissions                                 2,500.00        2,500.00
     05/29/2019         1703        INVINCIBLE CEO LLC                                     Professional Development Exp                             3,150.00        3,150.00
     05/29/2019                     TRANSFER TO BENTO                                          Funding of Bento Card                                3,000.00        3,000.00
     05/29/2019         1681        ABM PARKING SERVICES                                           Auto Expense                                        45.00           45.00
     05/29/2019         1542        FAST HARELY ELECTRIC                                  Outside Services - Subcontractors                         7,700.00        7,700.00
     05/30/2019                     RETURNED ITEM FEE                                          Bank Service Charges                                    35.00           35.00
     05/30/2019                     NSF FEE                                                    Bank Service Charges                                    70.00           70.00
     05/30/2019                     BILL.COM                                                    Transfer to TAX DIP                     0.19                            0.19
     05/31/2019         1540        Wind Star                                               Construction Materials Costs                           15,935.21       15,935.21
     05/31/2019                     NSF FEE                                                    Bank Service Charges                                    35.00           35.00
     05/31/2019                     JUAN CARLOS VARGAS                                    Outside Services - Subcontractors                           500.00          500.00
     05/31/2019                     Abel Perez Calvillo                                   Outside Services - Subcontractors                           500.00          500.00
     05/31/2019                     Juan Mireles                                          Outside Services - Subcontractors                           500.00          500.00
     05/31/2019                     TRANSFER TO BENTO                                          Funding of Bento Card                                3,000.00        3,000.00
     05/31/2019                     RESNIK HAYES MORADI LLP                                        Legal Expense                                    5,000.00        5,000.00
                                                                     TOTAL DISBURSEMENTS THIS PERIOD:                           $ 72,000.90    $ 331,048.70    $ 403,049.60
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.
               Case 2:18-bk-17029-BB                      Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10     Desc
                                                           Main Document    Page 4 of 24
                                                            GENERAL DIP ACCOUNT
                                                            BANK RECONCILIATION

                      Bank statement Date:                             5/31/2019   Balance on Statement:   $    9,204.73

Plus deposits in transit (a):
                                                                    Deposit Date      Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                             0.00

Less Outstanding Checks (a):
                  Check Number                                        Check Date       Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                             0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                         $9,204.73

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
       Case 2:18-bk-17029-BB               Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10 Desc
                                            Main Document    PageL/%/M&/&(&'
                                                                  5 of 24
                                                                         ġġ§ĥđøėù¦ ýü                              ¨%'*Oþ
                                                                         ª+0/*M,«+M¬,­      ę


                                                       $%&%'(&')*+,-..*+&/0
                                                                                                     689778258134:9;
                                                                                 123456378
                                                                                                     3<6=4>?94
    dðI@K                                                              @6948A7B82        CDE "F 
    1Ið@II
    ĝ"1c" "11                                                                           D4=94?288?A=?8FD
                                                                                 3=G=4>HH28<<
    I@ðd                                                                                        83??G8 
    F#dðD
                                                                                 I4G=48558<<       JJJK?5BJ3K597
     Id  "F!!




 L+MM%,N*O-..*+&/0
 PQQRSTUVWX                                                           PQQRSTUSYZX[                           T\]T^_`a`TQX
 1bcd                                                                 F                                e !KF


fghijkhhlmnkmoijpq                               vĕê
PQQRSTUSYY`[V                                                            
 `UX             XxQ[]WU]RT                                  PYRSTU
yz{y|{}y|~      _X^]TT]T^_`a`TQX                          ìyì~|
                28H=?C<E6=<@82=9H                  eF!##K
                 !8B=?C<E6=<@82=9H                   e!F! KD
yz{|{}y|~      T\]T^_`a`TQX                              ~}yì

 XWRx]Ux
 `UX          XxQ[]WU]RT                                                                                                   PYRSTU
#F    @I                                                                                                      eDDK

aXQU[RT]Q [X\]Ux
 `UX          XxQ[]WU]RT                                                                                                  PYRSTU
#D    F DI4G=48234<;82;297685:=4>F 94#D 3?Fî                                         eK
#     I4G=48234<;82;297685:=4>F 94# 3?#î                                           eK
#     còðIïIð@IðI                       F!òòbbð                                    e#DK
#     @@Ið K                             # F1cðï                            eFK!
##    @ðIdðI@                  # F1cðï                                       e K
#F    1ð1ðdIðð                 D!                                                               eFK
#!    1=GGK59782=;í       ðb bð                                                                                 eK
#F    !FI4G=48234<;82;297685:=4>F 94#  3?î                                         eK
#F    1=GGK59782=;í          Ĳïě                                                                                eK
#F    1ð1ðdIðð!D !                                                                           eF!!K

UX[ [X\]Ux
 `UX          XxQ[]WU]RT                                                                                                   PYRSTU
#     ððbcĝ#!94A;;=5=84?òA4H<                                                                   eK

aXQU[RT]Q XZ]Ux
 `UX          XxQ[]WU]RT                                                                                                  PYRSTU
#    I32=31A<?3734?8        D63<8                                                                     e#K
#    I32G9<@828H9          Ĳ@92>3463<8                                                              e#K
#    I184?9;921A8<=48<<        D 68134592134:                                                         e!K
#    I=4H<?32=4H9J<4H992<            !8GG<ò32>9                                                 e! K
#      I4G=48234<;82?9685:=4>F 94# 3?î                                           eK




       ò11D #  ò!1!!!òD                          #F             685:=4>559A4??3?8784?<
d29A45K                                F                  ?3?8784?4H=4>#F                        @3>8F9;D
       Case 2:18-bk-17029-BB            Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                            Desc
                                         Main Document    Page 6 of 24
fghijkhhlmnkmoijpq                            ĕvĕêlÿĀāĂăĄĂąĆćĈ
aXQU[RT]Q XZ]UxĉQRTU]TSX\Ċ
 `UX          XxQ[]WU]RT                                                                                                PYRSTU
#    IĲ8;;G:3Ě=34           #134:9;782=53                                                           e K
#    ðIdï b                !" D                                                                  e #K
#F    I4563=48Hò=4345=3G82=58<           D63<8                                                    eK#!
#F    IĲA3432G9<32>3<             Ĳ@92>3463<8                                                     eFK
#F    Iò2345=<59b82434H8Ě              !8GG<ò32>9                                                      eF#K
#D    I184?9;921A8<=48<<          D 68134592134:                                                    eFK
#D    I=5638GĲ13<<=113<<=2="@63<8           Ĳ@92>3463<8                                    e!K
#D    D!FI4G=48234<;82?9685:=4>F 94#! 3?!îF                                        eDK
#    DDI4G=48234<;82?9685:=4>F 94# 3?Dî!                                          eFK
#     I184?9;921A8<=48<<          D 68134592134:                                                    e!K
#     FFI4G=48234<;82?9685:=4>!94#  3? î!#                                          eK
#     FI4G=48234<;82?9685:=4>F 94#  3? î!#                                         eK
#     I@òFFĲ bDI                                                                e ##K#
#    IĲA3432G9<32>3<         Ĳ@92>3463<8                                                      eK
#    I8B@28<8458              # F134:9;782=53                                                      eK
#    Iò2345=<59b82434H8Ě             !8GG<ò32>9                                                      e#K
#    I=4H<?32=4H9J<4H992<               !8GG<ò32>9                                             eF K
#    I84?23G3GG8í=GGJ92:<45K        Ĳ@92>3463<8                                           e#DKF
#    Ibd29A45K          D63<8                                                                   e##K
#    IGG=285634=53G94?235?92<45          #9782=53134:                                       e!K
#    ð 1 b                      "                                                    eDK!
#F    1 ð1 @ïò                DF                                                                     e#K
#F    @ð@d@@@ï                                                                           eDKD
#F    @Iðbð1 @ï                   DF                                                          e#K#
#F    1 b Iòd@ï                 !D                                                          e K D
#!    I184?9;921A8<=48<<              68134592134:                                                   eFK
#!     1IðĤð Ĥ ò                     ě                                                          eK
#!     1IðĤð Ĥ ò                        F                                                         eK
#!    Iò K@K                                                                                 eDFK
#D    I12=>6?82G85?2=5        !=?=B34:                                                                 e #K
#D    I184?9;921A8<=48<<           D 68134592134:                                                    e!K
#D    I?32?19GH             !8GG<ò32>9                                                          eD#K
#D    Iò K@K                                                                             e#!KD
#    Iò2345=<59b82434H8Ě              !8GG<ò32>9                                                      e#K
#    IĲA3432G9<32>3<           Ĳ@92>3463<8                                                      e#K
#    IdG3<<            !8GG<ò32>9                                                                   eDFK
#    @3í784?           F@ð1                                                                           eK
#    I184?9;921A8<=48<<          D 68134592134:                                                    e!K
#    Ibd29A45K          D63<8                                                                   eF#K
#    DFI4G=48234<;82?9685:=4>F 94# 3?îF                                        eK
#    I@         F                                                                                   e!K!
#    IdIòðb                  !                                                            e##K
#F    IĲ8;;G:3Ě=34          #134:9;782=53                                                           e K
#F    I32=31A<?3734?8            D63<8                                                                e#K
#F    I32G9<@828H9         DĲ@92>3463<8                                                           e#K
#F    I4G=48234<;82?9685:=4>F 94#F 3? î                                         eK
#F    @3í784?              ð                                                                             e#K#
#F    G93H4;=4=?í4<A234H5d29AK45K                                                                eDK
#!    IĲA3432G9<=28G8<         # F134:9;782=53                                                        e#K
#!    IĲA3432G9<32>3<          Ĳ@92>3463<8                                                        e#K
#!    IB8G@828Ě3G=GG9        !8GG<ò32>9                                                            e#K
#!    Iò2345=<59b82434H8Ě          !8GG<ò32>9                                                       eK
#!    I184?9;921A8<=48<<        D 68134592134:                                                     e!K
#!    1=GGK59782=;í                bð                                                                           eK
#    I184?9;921A8<=48<<          D 68134592134:                                                    e!K
#    ððï@ï                     "                                                              e KD
#     I184?9;921A8<=48<<           D 68134592134:                                                    eFK
#F    1=GGK59782=;í             Ĳïě                                                                            eK
#F    IĲA3432G9<32>3<         Ĳ@92>3463<8                                                        e#K
#F    IB8G@828Ě3G=GG9        !8GG<ò32>9                                                            e#K
#F    IĲA3432G9<=28G8<         # F134:9;782=53                                                        e#K
#F    I184?9;921A8<=48<<        D 68134592134:                                                     eFK
#F    Ið8<4=:b3í8<923H= @              !8GG<ò32>9                                                 e#K




       ò11D #  ò!1!!!òD                         #F               685:=4>559A4??3?8784?<
d29A45K                                     F                 ?3?8784?4H=4>#F                       @3>8!9;D
        Case 2:18-bk-17029-BB               Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                           Desc
                                             Main Document    Page 7 of 24
fghijkhhlmnkmoijpq                               ĕvĕêlÿĀāĂăĄĂąĆćĈ
UX[ XZ]Ux
 `UX            XxQ[]WU]RT                                                                                                 PYRSTU
#F      cðdðI@ @bI                       FF                                                      e#K#!
##      @ð  ïbðd                                                                                       e#FKD
#F      ð8?A248Hò?87ò88                                                                                         eF#K
#F      @3=Hò?87ò88                                                                                             eK
#F      @3=Hò?87ò88                                                                                             eF#K

 XQx aX`[X\
    XQZ[           `UX       PYRSTU        XQZ[           `UX         PYRSTU         XQZ[           `UX        PYRSTU
        #FD #        e#K           D   #F         e##K           D   #          eF#DK
        #F #        eF!K           D    #F         e!K           D    #          e#!K
        #F #!        e !#K           D   #             e!#K           D    #        e#K
        #F  #F       e#!K           DF   #         e!#K           D !   #F          e!K#
        #! #F       e# F#K           D!   #           eF!FK#           D #   #!          eK
        #! #         eK           DD   #        eDF#K           D    #        e#K
        #!F #!        e##K           D   #D         eF#K           F   #         eF#K
4H=53?8<<:=8H5685:4A7B82

 `]aV_`a`TQXx
 `UX                             PYRSTU       `UX                              PYRSTU       `UX                               PYRSTU
#                      e!F   K    #F                      eF!FKF     #F                      eFD DK
#                      e!#K!    #!                      e# K!     #!                      e!#K
#F                      e#FFKF    ##                     eD#KD#     #                       e!#!K !
#D                       e FKF    #D                      e KD     #                       "eDKD
#                       eDFKF    #                      e KD     #F                     "e#DDK
#                          e!KF    #                      e!FK!     #F                       e !KF
#                      e!FKF!    #                      e KFF
#                      e#F K     #                      eDK


X[\[`U`T\XUS[TX\ UXYXXx
                                                                 RU`aR[U]xWX[]R\                      RU`aVX`[UR\`UX
   RU`aX[\[`UXXx                                                         e#K                                  e!K
   RU`aXUS[TX\ UXYXXx                                                       eF#K                                  eF#K




       ò11D #  ò!1!!!òD                          #F                 685:=4>559A4??3?8784?<
         Case 2:18-bk-17029-BB        Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10   Desc
                                       Main Document    Page 8 of 24
                                 I. CASH RECEIPTS AND DISBURSEMENTS
                                        B. PAYROLL DIP ACCOUNT

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                                  677,856.95

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                       669,702.10
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                      8,154.85

4. RECEIPTS DURING CURRENT PERIOD:                                                        67,000.00
  Transferred from General DIP Account & TAX DIP Account

5. BALANCE:                                                                               75,154.85

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
  Transferred to General DIP Account               19,100.00
  Disbursements                                    55,968.71

  TRANSFERS DISBURSEMENTS THIS PERIOD:***                                                 75,068.71


7. ENDING BALANCE:                                                                              86.14

8. Payroll DIP Account Number:                        ***7398
                                                      The Commerce Bank of Washington
  Depository Name & Location:                         601 Union St Suite 3600
                                                      Seattle, WA 98101
        Case 2:18-bk-17029-BB Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10 Desc
                                Main Document   Page 9 of 24
             TOTAL DISBURSEMENTS FROM PAYROLL DIP ACCOUNT FOR CURRENT PERIOD

  Date      Check
mm/dd/yyyy Number               Payee                      Purpose             Amount
05/03/2019      5327      DANIiL BORISOV             Insider Payroll Check             3,786.46
05/03/2019      5379    VYACHESLAV BORISOV           Insider Payroll Check             6,913.50
05/06/2019      EFT          TRANSFER              Transfer to Operating DIP          10,000.00
05/08/2019      EFT          TRANSFER              Transfer to Operating DIP             800.00
05/09/2019      EFT       Various Employees             Direct Deposits               18,578.31
05/10/2019      EFT           CompuPay                    Payroll Fees                   129.25
05/13/2019      5391    VYACHESLAV BORISOV           Insider Payroll Check             5,819.31
05/22/2019      5390      DANIiL BORISOV             Insider Payroll Check             3,913.50
05/23/2019      EFT       Various Employees             Direct Deposits               16,642.77
05/24/2019      EFT          TRANSFER              Transfer to Operating DIP           6,300.00
05/24/2019      EFT           CompuPay                    Payroll Fees                   126.82
05/29/2019      5408   HANGARITA MALDONADO             Employee Payroll                   58.79
05/30/2019      EFT          TRANSFER              Transfer to Operating DIP           2,000.00




                                        TOTAL DISBURSEMENTS THIS PERIOD:              75,068.71
               Case 2:18-bk-17029-BB                      Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10     Desc
                                                           Main Document    Page 10 of 24
                                                            PAYROLL DIP ACCOUNT
                                                            BANK RECONCILIATION

                      Bank statement Date:                             5/31/2019   Balance on Statement:   $      86.14

Plus deposits in transit (a):
                                                                    Deposit Date      Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                             0.00

Less Outstanding Checks (a):
                  Check Number                                        Check Date       Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                             0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                            $86.14

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
       Case 2:18-bk-17029-BB               Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10 Desc
                                            Main Document    PageL/%/M&/&(&'
                                                                 11 of 24
                                                                           ġġ§ĥđøėù¦ ýü                                  ¨%'*O©
                                                                           ª+0/*M,«+M¬,­          ®


                                                         $%&%'(&')*+,-..*+&/0
                                                                                                           689778258134:9;
                                                                                      123456378
                                                                                                           3<6=4>?94
    dðI@K                                                                   @6948A7B82         CDE "F 
    1Ið@II
    ĝ"1c" "11                                                                                 D4=94?288?A=?8FD
                                                                                      3=G=4>HH28<<
    @ïðI                                                                                                  83??G8 
    F#dðD
                                                                                      I4G=48558<<        JJJK?5BJ3K597
     Id  "F!!




 L+MM%,N*O-..*+&/0
 PQQRSTUVWX                                                             PQQRSTUSYZX[                               T\]T^_`a`TQX
 1bcd                                                                                                            eDK!


fghijkhhlmnkmoijpq                              ĕvëu
PQQRSTUSYY`[V                                                              
 `UX            XxQ[]WU]RT                                    PYRSTU
yz{y|{}y|~    _X^]TT]T^_`a`TQX                               |z z
              D28H=?C<E6=<@82=9H                       eDK
              F8B=?C<E6=<@82=9H                       e#DK
yz{|{}y|~    T\]T^_`a`TQX                                     |

aXQU[RT]Q [X\]Ux
 `UX           XxQ[]WU]RT                                                                                                       PYRSTU
#       I4G=48234<;82;297685:=4>F94#   3?î                                            eK
#D     D!FI4G=48234<;82;297685:=4>F94#!   3?!îF                                           eDK
#     DDI4G=48234<;82;297685:=4>F94#   3?Dî!                                             eFK
#      FI4G=48234<;82;297685:=4>F94#    3? î!#                                            eK
#     DFI4G=48234<;82;297685:=4>F94#   3?îF                                           eK
#F     I4G=48234<;82;297685:=4>F94#F   3? î                                            eK

aXQU[RT]Q XZ]Ux
 `UX           XxQ[]WU]RT                                                                                                       PYRSTU
#D     F DI4G=48234<;82?9685:=4>F94#D   3?Fî                                              eK
#      I4G=48234<;82?9685:=4>F94#   3?#î                                                eK
#      dðI@@ïðI              D                                                                           e#KF
#     I@@ï1 dððð                 D                                                                    e K#
#F     dðI@@ïðI              D                                                                           eDD!K
#!     !F I4G=48234<;82?9685:=4>!94#!    3?!î!                                              eDFK
#!     I@@ï1 dððð                 D                                                                    eDK
#F     !FI4G=48234<;82?9685:=4>F94#    3?î                                              eK

 XQx aX`[X\
    XQZ[           `UX       PYRSTU       XQZ[         `UX                PYRSTU         XQZ[         `UX             PYRSTU
        #F #F        eFDK!D          #F  #                eF FK#           #! #                e#K
        #F  #F        eD FK#          #F  #F                e# KF
4H=53?8<<:=8H5685:4A7B82




       DF 111ò!!! 1FD                          #F                     685:=4>559A4??3?8784?<
d29A45K                                F             ?3?8784?4H=4>#F                          @3>8F9;!
        Case 2:18-bk-17029-BB              Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                      Desc
                                            Main Document    Page 12 of 24
fghijkhhlmnkmoijpq                              ĕvëulÿĀāĂăĄĂąĆćĈ
 `]aV_`a`TQXx
 `UX                            PYRSTU       `UX                        PYRSTU        `UX                               PYRSTU
#                     e#!K#    #                   eDK#     #!                      e!!K F
#F                      e!#!K     #                  eD !KFF     #                       eDK!
#D                     eF!#!K     #F                  eK     #F                         eDK!
#                     eD!#!K     #                 e#!K#
#                     e#D#!K     #F                  e#K#


X[\[`U`T\XUS[TX\ UXYXXx
                                                           RU`aR[U]xWX[]R\                      RU`aVX`[UR\`UX
   RU`aX[\[`UXXx                                                     eK                                  eF#K
   RU`aXUS[TX\ UXYXXx                                                 eK                                    eK




       DF 111ò!!! 1FD                     #F                685:=4>559A4??3?8784?<
         Case 2:18-bk-17029-BB      Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10      Desc
                                     Main Document    Page 13 of 24
                                I. CASH RECEIPTS AND DISBURSEMENTS
                                          C. TAX DIP ACCOUNT

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                     152,512.47

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                          151,974.40
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                            538.07

4. RECEIPTS DURING CURRENT PERIOD:                                                           14,300.00
  Transferred from General DIP Account (xxxxxx7371)

5. BALANCE:                                                                                  14,838.07

6. LESS: DISBURSEMENTS DURING CURRENT PERIOD
  Transferred to General PAYROLL Account (xxxxxx7398)                    -
  Disbursements                                                    14,738.17

  TRANSFERS DISBURSEMENTS THIS PERIOD:***                                                    14,738.17

7. ENDING BALANCE:                                                                                99.90

8. Tax DIP Account Number:                              ***7401
                                                        The Commerce Bank of Washington
  Depository Name & Location:                           601 Union St Suite 3600
                                                        Seattle, WA 98101
        Case 2:18-bk-17029-BB Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10    Desc
                               Main Document    Page 14 of 24
             TOTAL DISBURSEMENTS FROM TAX DIP ACCOUNT FOR CURRENT PERIOD

  Date      Check
mm/dd/yyyy Number             Payee                       Purpose             Amount
05/10/2019      EFT       CompuPay, Inc.                Payroll Taxes             7,676.67
05/24/2019      EFT       CompuPay, Inc.                Payroll Taxes             7,061.50




                                           TOTAL DISBURSEMENTS THIS PERIOD:      14,738.17
               Case 2:18-bk-17029-BB                      Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10       Desc
                                                           Main Document    Page 15 of 24
                                                               TAX DIP ACCOUNT
                                                            BANK RECONCILIATION

                      Bank statement Date:                               5/31/2019   Balance on Statement:   $      99.90

Plus deposits in transit (a):
                                                                    Deposit Date        Deposit Amount




Less Outstanding Checks (a):
                  Check Number                                       Check Date          Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                               0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                              $99.90

* It is acceptable to replace this form with a similar form
** Please attach detailed explanation of any bank statement adjustment
         Case 2:18-bk-17029-BB               Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10 Desc
                                              Main Document    PageO4*4P+4+-+,
                                                                   16 of 24
                                                                         ÚÚµÝ¤·ÄÅ¥£Æ                                   ¦*,/R
                                                                         §054/P1¨0P©1ª          «¬


                                                       )*+*,-+,./01233/0+45
                                                                                                          :<=;;<69<78>=?
                                                                                    6789:7;<
                                                                                                          !7@:A8BC=8
        LN                                                              :=8<D;E<6          F(G&H("('%"GG
          
       ×($#'f'$gG("'                                                                             &G$8A=8C6<<CLDAC<%&GGL
                                                                                    I7AJA8BKK6<@@
       Ö                                                                                                <7CCJ<L!"#$G$
       %G $&gG
                                                                                     8JA8<99<@@         MMMNC9EM7N9=;
        "GGg$'%#




 O0PP*1Q/R233/0+45
 STTUVWXYZ[                                                            STTUVWXV\][^                               W_`WabcdcWT[
 ef                                                                 gG$                                       h""N"G


ijklmnkkopqnprlmsv                                z{xw
STTUVWXV\\c^Y                                                            
 cX[             [|T^`ZX`UW                                   S\UVWX
}~}}     b[a`WW`WabcdcWT[                              ~Î}²
               (6<KACF@H:A@<6A=K                      h$L%GGNGG
               (<EACF@H:A@<6A=K                       h$Lg%#N$g
}~}     W_`WabcdcWT[                                   }

d[TX^UW`T ^[_`X|
 cX[           [|T^`ZX`UW                                                                                                       S\UVWX
G­G"­(G$"    $$$%#% 8JA8<678@?<6?6=;:<9>A8BÏÏÏg%g$=8­G"­$"7C"Ð                                               h#LGGGNGG
G­(­(G$"    $G%"" 8JA8<678@?<6?6=;:<9>A8BÏÏÏg%"#=8­(­$"7C$Ð(                                              h&L%GGNGG

d[TX^UW`T []`X|
 cX[           [|T^`ZX`UW                                                                                                       S\UVWX
G­$G­(G$"     ILÖ               g"(&                                                                         hgL&g&N&g
G­(­(G$"     ILÖ               g"(&                                                                         hgLG&$NG

 c`dYbcdcWT[|
 cX[                              S\UVWX       cX[                             S\UVWX        cX[                                 S\UVWX
G­G"­(G$"                       h#L%#NGg    G­$G­(G$"                       h#&$NG      G­(­(G$"                             h""N"G


[^_^cXcW_[XV^W[_ X[\[[|
                                                                UXcdU^X`|Z[^`U_                           UXcdY[c^XU_cX[
   UXcd[^_^cX[[|                                                             hGNGG                                     hgGNGG
   UXcd[XV^W[_ X[\[[|                                                         hGNGG                                       hGNGG




         (G&g%%#(#(#                       (G$"G%$                 :<9>A8B99=D8CC7C<;<8C@
                 Case 2:18-bk-17029-BB                             Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                                 Desc
                                                                    Main Document
                                                                    I.D SUMMARY      PageOF
                                                                                SCHEDULE  17CASH
                                                                                             of 24

ENDING BALANCES FOR THE PERIOD:


                                                                                                       General DIP Account (7371):       9,204.73
                                                                                                       Payroll DIP Account (7398):          86.14
                                                                                                          Tax Dip Account (7401):           99.90
*Other Monies:                                                                                                                               0.00
                                                                                                         **Petty Cash (from below):          0.00


TOTAL CASH AVAILABLE:                                                                                                                                      9,390.77



Petty Cash Transactions:
           Date                                               Purpose                                                                 Amount
N/A




TOTAL PETTY CASH TRANSACTIONS:                                                                                                                                 0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions
            Case 2:18-bk-17029-BB    Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                        Desc
                                      Main Document    Page 18 of 24
                          II. STATUS OF PAYMENTS TO SECURED CREDITORS LESSORS
                                AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                                               Post-Petition
                           Frequency of Payments
Creditor, Lessor, Etc.                                       Amount of Payment              Payments not made         Total
                                 (Mo/Qtr)
                                                                                                (number)
GTR                                 N/A             None - Claim Disputed                          N/A               37,820.12
RDY Holdings LLC                    N/A             None - Claim Disputed                          N/A               35,000.00
Richmond Capital                    N/A             None - Claim Disputed                          N/A               37,820.12
YellowStone Capital                 N/A             None - Claim Disputed                          N/A              118,478.24
Yes Lendor                          N/A             None - Claim Disputed                          N/A               55,583.35

Unexpired Leases:
Merrill Comm. LLC                Monthly                                         9,368.29           0                         0.00
Office Corp. Inc.                Monthly                                           104.00           0                         0.00




                                                                                                TOTAL DUE:          284,701.83

                                                        III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                                            Gross Sales Subject to Sales Tax:              0.00
                                                                                           Total Wages Paid:         51,272.19

                                                                                                                      Date
                                                                                                Amount              Delinquent
                                                     Total Post-Petition Amounts Owing         Delinquent          Amount Due
                         Federal Withholding                                   2,234.81
                         State Withholding                                       829.26
                         FICA- Employer's Share                                1,409.06
                         FICA- Employee's Share                                  329.53
                         Federal Unemployment                                       -
                         State Unemployment                                      247.43
                         Sales and Use                                             N/A
                                           TOTAL:                              5,050.09                     0.00
                    Case 2:18-bk-17029-BB                                     Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                                                            Desc
                                                                               Main Document    Page 19 of 24
                                                                   IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE

                                                                                                                                                              Accounts Receivables
                                                                                                Accounts Payable Post - Petition                          Pre-Petition     Post Petition
                                                                    30 days of less                                   419,291.40                                      0.00    497,411.50
                                                                       31-60 days                                     221,080.92                                      0.00  1,059,906.88
                                                                       61-90 days                                     121,975.68                                      0.00    625,344.54
                                                                      91-120 days                                              0.00                                   0.00            0.00
                                                                    Over 120 days                                              0.00                                   0.00            0.00
                                                                         TOTAL:                                       762,348.00                                      0.00  2,182,662.92

                                                                                           V. INSURANCE COVERAGE

                                                                                                                                                             Premium paid
                                                         Name of Carrier                                 Amount of coverage           Policy Expiration Date through (Date)
Commericial General Liability                  Rockingham Insurance Compan                                1 Mill/100k/1Mill                 12/15/2019           12/15/2019
    Worker's Compensation                      State Comp Insurance                                                     1,000,000.00        12/16/2019           12/16/2019
                   Umbrella                    Starstone                                                                5,000,000.00        12/15/2019           12/15/2019
            Vehicle Liability                  Farmer's Insurance                                         1 Mill/100k/1Mill                  5/31/2019            5/31/2019
             Bond Insurance                    State National                                                               15,000.00        7/15/2019            7/15/2019

                                                                         VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                                                      (TOTAL PAYMENTS)

  Quarterly Period Ending                                                                                                                                                                    Quarterly Fees
           (Date)                                    Total Disbursements                                    Quarterly Fees                                  Date Paid       Amount Paid       Still Owing
                     30-Jun-2018                                         78,942.75                                                      975.00               31-Jul-2018           975.00               0.00
                     30-Sep-2018                                        648,553.81                                                     4875.00              28-Sep-2018            650.71            4224.29
                                                                                                                                                            24-Oct-2018           4875.00           (650.71)
                     31-Dec-2018                                     1,298,349.40                                                  12,983.00                 28-Jan-2019          4875.00            7458.00
                                                                                                                                                            22-Feb-2019           8207.29           (750.00)




                                                                                            $                                      18,833.00                                $ 19,583.00      $      (750.00)

* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have veen incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report
               Case 2:18-bk-17029-BB                 Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                               Desc
                                                      MainOF
                                           VII. SCHEDULE   Document    PagePAID
                                                             COMPENSATION   20 ofTO
                                                                                  24INSIDERS

                                                                                                                               Insider Total
                                                 Date of Order Authorizing                                                     Compensation
     Name of Insider                                   Compensation                          *Authorized Gross Compensation    During Month
Vyacheslav Borisov                                                                                                                  12,000.00
Daniel Borisov                                                                                                                        8,000.00




                                         VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                 Date of Order Authorizing                                                     Amount Paid
        Name of Insider                                Compensation                                   Description             During the Month




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
       Case 2:18-bk-17029-BB           Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10         Desc
                                        Main Document    Page 21 of 24
                                          DDC Group Inc - updated
                                                      Profit & Loss
Cash Basis                                                 May 2019

                                                                         May 19
                 Ordinary Income/Expense
                      Income
                         Construction Income                                      156,060.00
                         Construction Revenue Recognized                          164,944.29

                      Total Income                                                321,004.29

                      Cost of Goods Sold
                        Costs of Revenue Recognized
                           Construction Materials Costs                  54,670.37
                           Permits & Similar                             17,523.00
                           Subcontractors Expense                       183,519.50

                            Total Costs of Revenue Recognized                     255,712.87

                      Total COGS                                                  255,712.87

                    Gross Profit                                                   65,291.42

                      Expense
                        Accounting Expense                                           2,678.54
                        Advertising & Marketing                                      3,309.17
                        Auto Expense                                                 1,298.02
                        Bank Service Charges                                           676.76
                        Computer Expenses                                            3,819.38
                        Dues & Subscriptions                                           949.87
                        Employee Fringe Benefits                                        70.12
                        Freight & Delivery                                             540.01
                        Insurance Expense
                           Health Insurance                                 997.92
                           Insurance Expense - Other                      4,719.54

                            Total Insurance Expense                                  5,717.46

                            Lease Exp - Vehicle                                     1,152.50
                            Legal Expense                                           9,875.00
                            Meals & Entertainment                                   5,258.14
                            Office Expense                                          3,835.54
                            Office Supplies                                         1,903.92
                            Payroll - Salaries & Wages                             51,272.19

                            Payroll Processing Fees                                   256.07
                            Payroll Tax Expense                                     4,203.07
                            Professional Development Exp                            6,300.00
                            Professional Fees                                         550.65
                            Reimbursable Expenses                                  15,947.26
                            Rent Expense                                            1,979.00
                            Sales / Commissions                                     5,000.00
                            Taxes & Licenses                                          197.90
                            Telephone Expense                                       2,301.41
                            Transportation Expense                                    235.20
                            Travel Expense                                          6,988.38
                            Utilities                                                 575.00

                      Total Expense                                               136,890.56

                 Net Ordinary Income                                              -71,599.14

               Net Income                                                         -71,599.14




                                                                                                       Page 1
                                           Doc DDC
                                               345 Group   Inc - updated
Accrual Basis
    Case 2:18-bk-17029-BB                           Filed 06/12/19   Entered 06/12/19 11:21:10                 Desc
                                                   Balance Sheet
                                            Main Document     Page 22 of 24
                                                   As of May 31, 2019
                                                     May 31, 19

ASSETS
   Current Assets
         Checking/Savings
             Commerce CK#7371 (Operating)                9,204.73
             Commerce CK#7398 (Payroll)                    86.14
             Commerce CK#7401 (Tax)                        99.90
         Total Checking/Savings                          9,390.77
         Accounts Receivable
             Accounts Receivable                     2,182,662.92   **Invoices to Clients for work completed
             Contracts Signed - Not Invoiced         2,001,532.99   **Yet to be invoices as work‐in‐process
         Total Accounts Receivable                   4,184,195.91
   Total Current Assets                              4,193,586.68
   Fixed Assets
         Furniture & Fixtures                          10,000.00
         Leasehold Improvements                          5,000.00
         Office Equipment                              62,059.68
   Total Fixed Assets                                  77,059.68
TOTAL ASSETS                                         4,270,646.36
LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  Accounts Payable                    280,099.96    ** Vendor invoices received
             Total Accounts Payable                   280,099.96
             Credit Cards
                  American Express                     21,607.37    *
                  Bento - CLOSED                             0.00
                  Bento - NEW                           -4,488.48
                  Bento_Office Manager 4460              6,147.65
                  BOA Corp Account - 3063              21,301.63    *
             Total Credit Cards                        44,568.17
             Other Current Liabilities
                  IRS Payable                           -6,403.82
                  Loan from Vyachesslav Borisov        19,500.00    *
                  Payroll Clearing                     40,726.30
                  Payroll Liabilities                 276,630.44    *
                  Unearned Contract Revenue            34,428.06
                  Vendor Contracts Recognized        1,611,513.93   ** Vendor contracts work‐in‐process
             Total Other Current Liabilities         1,976,394.91
         Total Current Liabilities                   2,301,063.04
         Long Term Liabilities
             GTR Source LLC                            37,820.12    *
             RDY Holdings LLC                          35,000.00    *
             Richmond Capital                          37,820.12    *
             Yellow Stone Capital                     118,478.24    *
             YES Lender                                40,583.35    *


                                                                                                               Page 1 of 2
                                      Doc DDC
                                          345 Group   Inc - updated
Accrual Basis
    Case 2:18-bk-17029-BB                      Filed 06/12/19   Entered 06/12/19 11:21:10   Desc
                                              Balance Sheet
                                       Main Document     Page 23 of 24
                                              As of May 31, 2019
                                                May 31, 19

        Total Long Term Liabilities              269,701.83
   Total Liabilities                            2,570,764.87
   Equity
        Retained Earnings                        205,444.38
        Shareholder Contributions                 34,820.25
        Shareholder Distributions                  -2,527.00
        Net Income                              1,462,143.86
   Total Equity                                 1,699,881.49
TOTAL LIABILITIES & EQUITY                      4,270,646.36




                                                                                            Page 2 of 2
Case 2:18-bk-17029-BB         Doc 345 Filed 06/12/19 Entered 06/12/19 11:21:10                     Desc
                               Main Document    Page 24 of 24



                                         Questionnaire

   1. Has the debtor-in-possession made any payments on its pre-petition unsecured debt,             Yes   No
   except as have been authorized by the court? If “yes”, explain below:
                                                                                                     ___   _X_

   2. Has he debtor-in-possession during this reporting period provided compensation or              Yes   No
      remuneration to any officers, directors, principals, or other insiders without appropriate
      authorization? If “yes” explain below:                                                         ___   _X_



   3. State what progress was made during the reporting period towards filing a plan of
      reorganization:




   4. Describe potential future developments which may have significant impact on the case:



   5. Attach copies of all Orders granting relief from automatic stay that were entered during the
      reporting period.

   6. Did you receive any exempt income this month, which is not set forth in the operating          Yes    No
      report? If “yes” please set forth the amounts and sources of the income below:
                                                                                                     ___   _X_



   I, Vyacheslav Borisov, Chief Executive Officer, declare under penalty of perjury that I have read and
   understood the foregoing debtor-in-possession operating report and that the information contained
   herein is true and complete to the best of my knowledge.



                                                                                       6/12/2019
    Principal for Debtor-in-Possession                                                  Date
